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                      UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION

    STATE OF TEXAS,

         Plaintiff,

    v.                                                          No. 4:21-cv-0579-P

    JOSEPH R. BIDEN, JR., IN HIS OFFICIAL
    CAPACITY AS PRESIDENT OF THE UNITED
    STATES OF AMERICA, ET AL.,

         Defendants.

                                           ORDER
         Before the Court is the Parties’ Joint Motion for Scheduling Order
    (“Motion”). ECF No. 106. By the Motion, Texas seeks to amend their
    Original Complaint for the third time. See ECF Nos. 1, 62. A third
    amended complaint would drastically alter the nature and scope of the
    instant dispute, further convoluting the docket. The Court therefore has
    serious concerns as to whether an amended complaint is the most
    efficient avenue to resolve the new dispute between the Parties.

         Accordingly, the Court SETS the Motion for a telephonic hearing on
    April 11, 2022, at 1:30 p.m. CST. Texas shall provide the Court 1 and
    the Government with the call-in number for the hearing.

         SO ORDERED on this 8th day of April, 2022.




                       Mark T. Pittman
                       UNITED STATES DISTRICT JUDGE




         1Texas   shall email the call-in number to Pittman_Orders@txnd.uscourts.gov.
